                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                            )
CENTRO PRESENTE, a membership organization, )
et al.,                                     )
                                            )              No. 1:18-cv-10340-DJC
                         Plaintiffs,
                                            )
v.                                          )              ORAL ARGUMENT REQUESTED
                                            )
DONALD J. TRUMP, President of the United    )
States, in his official capacity, et al.,   )
                                            )
                         Defendants.        )


               PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF
              DOCUMENTS IMPROPERLY WITHHELD AS PRIVILEGED

       Pursuant to Fed. R. Civ. P. 37(a)(3)(B), Plaintiffs Centro Presente, et al. (the “Plaintiffs”)

respectfully move this Court for an order compelling the Defendants—United States Department

of Homeland Security (“DHS”), Donald J. Trump, President of the United States in his official

capacity (“President Trump”), DHS Secretary Kirstjen Nielsen (“Secretary Nielsen”), and DHS

Deputy Secretary Elaine Costanzo Duke (“Deputy Secretary Duke,” and together with DHS,

President Trump, and Secretary Nielsen, the “Defendants”)—to produce the documents listed on

Exhibit A to this motion, which have been improperly withheld on the ground of privilege.

       This Motion is supported by Plaintiffs’ Memorandum of Law and the Declaration of

Leah Milbauer, filed contemporaneously herewith. As set forth more fully in the Memorandum

and Declaration, Defendants have improperly withheld thousands of documents based on

improper assertions of the deliberative process privilege, the attorney-client privilege, and the

law enforcement privilege. Defendants have made similar assertions of privilege in parallel

litigations involving Temporary Protected Status (“TPS”) designations. The courts in those
cases ruled that various documents that had been withheld directly supported the TPS plaintiffs’

claims.

          The parties have conferred extensively regarding these issues as noted in the parties’ joint

status reports, but have not resolved their disagreement. Plaintiffs request that the Defendants be

compelled to produce the documents promptly, so that Plaintiffs will be able to prepare for

depositions and for trial. If and when the stay ends in this action, there will be a limited period

of time within which Plaintiffs must bring the case to resolution on the merits before the TPS

protections end for thousands of people.

          The Defendants’ current privilege log lists 8,749 entries. Defendants are withholding

these 8,749 documents on the grounds of privilege. Plaintiffs challenge a subset of these

assertions of privilege. In the attached Exhibit A, Plaintiffs have reproduced verbatim the

privilege log entries that Plaintiffs are challenging. Plaintiffs contend that the documents listed

on Exhibit A should be produced.

          WHEREFORE, Plaintiffs request that the Court order Defendants, within fourteen days

of the resolution of this Motion, to produce the documents identified in Exhibit A to Plaintiffs’

Motion, or, alternatively, to order that a representative sample of documents be submitted for in

camera review and evaluation by the Court.

                                   REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), Plaintiffs respectfully request that this Court schedule a

hearing on this Motion by telephone or by video conference.
Dated: May 5, 2020   Respectfully submitted,

                     CENTRO PRESENTE, et al.


                     /s/ Leah R. Milbauer
                     Eric J. Marandett (BBO# 561730)
                     Kevin P. O’Keefe (BBO# 697101)
                     Leah R. Milbauer (BBO# 703717)
                     Anna S. Roy (BBO# 703884)
                     CHOATE, HALL & STEWART LLP
                     Two International Place
                     Boston, Massachusetts 02110
                     (617) 248-5000

                     Oren Sellstrom (BBO# 569045)
                     Oren Nimni (BBO #691821)
                     Iván Espinoza-Madrigal (Admitted Pro
                     Hac Vice)
                     LAWYERS FOR CIVIL RIGHTS
                     61 Batterymarch Street, 5th Floor
                     Boston, Massachusetts 02110
                     (617) 988-0624
        CERTIFICATE OF COMPLIANCE WITH LOCAL RULES 7.1 AND 37.1

       I, Leah R. Milbauer, counsel for plaintiffs Centro Presente, et al., certify that the parties

convened in good faith to discuss the foregoing discovery disputes, as set forth in paragraphs

nine through fourteen of the accompanying Declaration of Leah R. Milbauer in Support of

Plaintiffs’ Motion to Compel Production of Documents Improperly Withheld as Privileged.

Defendants have not assented to this motion.




 Dated: May 5, 2020                                /s/ Leah R. Milbauer
                                                   Leah R. Milbauer (BBO# 703717)




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants.



 Dated: May 5, 2020                                /s/ Leah R. Milbauer
                                                   Leah R. Milbauer (BBO# 703717)
